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 8                            UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

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11   SCOTT ALLEN SEARS,                 )   NO. CV 21-3166-JWH(E)
                                        )
12              Plaintiff,              )
                                        )
13         v.                           )   ORDER ADOPTING FINDINGS,
                                        )
14   WARDEN LINDA SAUNDERS, ETC.,       )   CONCLUSIONS AND RECOMMENDATIONS
                                        )
15                                      )   OF UNITED STATES MAGISTRATE JUDGE
                Defendants.             )
16                                      )

17

18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the

19   Complaint, all of the records herein and the attached Report and

20   Recommendation of United States Magistrate Judge.          Further, the Court

21   has engaged in a de novo review of those portions of the Report and

22   Recommendation to which any objections have been made.           The Court

23   accepts and adopts the Magistrate Judge’s Report and Recommendation.

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25         IT IS ORDERED that Judgment be entered dismissing the action

26   without prejudice.

27   ///

28   ///
     Case 2:21-cv-03166-JWH-E Document 19 Filed 10/18/21 Page 2 of 2 Page ID #:25



 1        IT IS FURTHER ORDERED that the Clerk serve copies of this Order,

 2   the Magistrate Judge’s Report and Recommendation and the Judgment

 3   herein on Plaintiff.

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 5        LET JUDGMENT BE ENTERED ACCORDINGLY.

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 7              DATED: October 18, 2021

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                                               JOHN W. HOLCOMB
11                                       UNITED STATES DISTRICT JUDGE

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